Deborah Beard, Account Planner Communications Group
400 West Capitol, Suite 1391 Little Rock, Arkansas 72201
Dear Ms. Beard:
You have requested approval, pursuant to the Interlocal Cooperation Act (A.C.A. § 25-20-101 et seq.), of a proposed interlocal agreement between the Arkansas Department of Human Services — Division of Medical Services (referenced as "the State" in the proposed agreement) and the Memphis and Shelby County Health Department.
You have submitted a copy of the agreement, under the terms of which the parties agree generally to cooperate in the continued operation of an outreach program to encourage early and continuous prenatal care (denominated in the proposed agreement "Campaign for Healthier Babies/Healthy Baby"), specifically by gaining access to the electronic media and other material production efficiencies that are made possible through a cooperative project.
The Interlocal Cooperation Act requires that interlocal agreements for joint or cooperative action specify the following items:
  (1) The duration of the agreement;
  (2) The purposes of the agreement;
  (3) The manner of financing the joint or cooperative undertaking and of establishing and maintaining a budget for it; *Page 2 
  (4) The methods of accomplishing termination of the agreement and for the disposal of property (if any) upon termination;
  (5) Any other necessary and proper matters.
A.C.A. § 25-20-104(d).
I am required by law to review the agreement for the purpose of determining whether it is in proper form, as described above, and is otherwise compatible with the laws of the state.
Having analyzed the agreement you have submitted, I find that it is in proper form and otherwise meets the requirement of law. Accordingly, it is hereby approved as submitted.
However, as this office was compelled to do on various previous occasions, I will note one recurring issue. The Interlocal Cooperation Act contemplates that agreements be submitted for review by this office prior to the agreement going into effect. A.C.A. § 25-20-104(f)(2). The agreement submitted here was signed by the parties in January and March 2010 and received by this office for review on May 25, 2010. (I will note further that the agreement was approved by the Contract Administrator/Assistant County Attorney in January 2010.) Yet by its terms, the submitted agreement purports to commence on July 1, 2009 — well before it was submitted for our review. Indeed, pursuant to its term, the submitted agreement is scheduled to expire almost a month before the deadline date for this office's approval. In order to avoid potential problems, we have previously requested that any such interlocal agreement be submitted sufficiently in advance of its proposed effective date to allow for our approval. It appears that this is feasible given that the content of the agreement has changed very little from year to year. I must therefore remind you again to submit these agreements for approval in timely fashion — a suggestion that, if followed, will mean that any agreement covering the term July 1, 2010 through June 30, 2011 should be submitted forthwith. I will address any timely submission covering this period as quickly as possible. *Page 3 
Assistant Attorney General Jack Druff prepared the foregoing opinion, which I hereby approve.
Sincerely,
DUSTIN McDANIEL Attorney General *Page 1 